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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

(1) DANIEL HANCHETT, as Personal                     )
 representative of the Estate of Shannon             )
Hanchett, Deceased,                                  ) Attorney Lien Claimed
                                                     ) Jury Trial Demanded
       Plaintiff,                                    )
                                                     )
vs.                                                  ) CASE NO.: CV-24-87-SLP
                                                     )
(1) SHERIFF OF CLEVELAND COUNTY,                     )
    IN HIS OFFICIAL CAPACITY,                        )
(2) TURN KEY HEALTH CLINICS, LLC,                    )
(3) DIANA MYLES-HENDERSON, LPC,                      )
(4) TARA DOTO, LPN,                                  )
(5) NATASHA KARIUKI, LPN,                            )
                                                     )
                                                     )
      Defendants.                                    )

                                      COMPLAINT

       COMES NOW, the Plaintiff Daniel Hanchett (“Plaintiff”), as Personal

Representative of the Estate of Shannon Hanchett (“Ms. Hancett”), deceased, and for his

Complaint against the above-named Defendants, states and alleges as follows:

                                        PARTIES

       1.       Plaintiff Daniel Hanchett, as Personal Representative of the Estate of

Shannon Hanchett, deceased, is a citizen of the State of Oklahoma and Personal

Representative of Ms. Hanchett’s Estate. Ms. Hanchett was Plaintiff’s late wife.

       2.       Defendant Sheriff of Cleveland County, Oklahoma (“Sheriff”) is the Sheriff

of Cleveland County, Oklahoma, residing in Cleveland County, Oklahoma and acting

under color of state law. The Sheriff is sued purely in his official capacity. It is well-



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established, as a matter of Tenth Circuit authority, that a § 1983 claim against a county

sheriff in his official capacity “is the same as bringing a suit against the county.” Martinez v.

Beggs, 563 F.3d 1082, 1091 (10th Cir. 2009). See also Porro v. Barnes, 624 F.3d 1322, 1328

(10th Cir. 2010); Bame v. Iron Cnty., 566 F. App'x 731, 737 (10th Cir. 2014). Thus, in suing

the Sheriff in his official capacity, Plaintiff has brought suit against the County/Cleveland

County Sheriff’s Office (“CCSO”).

       3.       Defendant Turn Key Health Clinics, LLC (“Turn Key”) is an Oklahoma

limited liability company doing business in Cleveland County, Oklahoma. Turn Key is a

private correctional health care company that contracts with counties, including Oklahoma

County, to provide medical professional staffing, supervision and care in county jails. Turn

Key was, at times relevant hereto, responsible, in part, for providing medical services,

supervision and medication to Ms. Hanchett while she was in custody at the Jail. Turn

Key was additionally responsible, in part, for creating, implementing and maintaining

policies, practices and protocols that govern the provision of medical and mental health

care to inmates at the Jail, and for training and supervising its employees. Turn Key was

endowed by Cleveland County/CCSO with powers or functions governmental in nature,

such that Turn Key became an agency or instrumentality of the State and subject to its

constitutional limitations.

       4.       Defendant Diana Myles-Henderson, L.P.C., (“Myles-Henderson”) is a

citizen of Oklahoma. Myles-Henderson was, at all times relevant hereto, acting under color

of state law as an employee and/or agent of Turn Key/CCSO/Cleveland County. Myles-

Henderson was, in part, responsible for overseeing Ms. Hanchett’s health and well-being,


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and assuring that Ms. Hanchett’s medical/mental health needs were met, during the time

she was in the custody of the Jail/CCSO. Myles-Henderson is being sued in her individual

capacity.

       5.       Defendant Tara Doto, LPN (“Nurse Doto”) is a citizen of Oklahoma. Nurse

Doto was, at all times relevant hereto, acting under color of state law as an employee

and/or agent of Turn Key/CCSO/Cleveland County. Nurse Doto was, in part,

responsible for overseeing Ms. Hanchett’s health and well-being, and assuring that Ms.

Hanchett’s medical/mental health needs were met, during the time she was in the custody

of the Jail/Cleveland County. Nurse Doto is being sued in her individual capacity.

       6.       Defendant Natasha Kariuki, LPN (“Nurse Kariuki”) is a citizen of

Oklahoma. Nurse Kariuki was, at all times relevant hereto, acting under color of state law

as an employee and/or agent of Turn Key/CCSO/Cleveland County. Nurse Kariuki was,

in part, responsible for overseeing Ms. Hanchett’s health and well-being, and assuring that

Ms. Hanchett’s medical/mental health needs were met, during the time she was in the

custody of the Jail/Cleveland County. Nurse Kariuki is being sued in her individual

capacity.

                                JURISDICTION AND VENUE

       7.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C § 1343 to

secure protection of and to redress deprivations of rights secured by the Eighth and/or

Fourteenth Amendment to the United States Constitution as enforced by 42 U.S.C. § 1983,

which provides for the protection of all persons in their civil rights and the redress of

deprivation of rights under color of State law.


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        8.       This Court also has original jurisdiction under 28 U.S.C. § 1331 to resolve a

controversy arising under the Constitution and laws of the United States, particularly the

Eighth and/or Fourteenth Amendment to the United States Constitution and 42 U.S.C. §

1983.

        9.       This Court has supplemental jurisdiction over the state law claims asserted

herein pursuant to 28 U.S.C. § 1367, since claims form part of the same case or controversy

arising under the United State Constitution and federal law.

        10.      The acts complained of herein occurred in Cleveland County, Oklahoma.

Jurisdiction and venue are thus proper under 28 U.S.C. §§ 116(a) and 1391(b).

                                 STATEMENT OF FACTS

        Facts Specific to Ms. Hanchett

        11.      Paragraphs 1-10 are incorporated herein.

        12.      Shannon Hanchett was the owner of Norman’s Cookie Cottage, a well-

known and beloved bakery in Norman, OK.

        13.      Unfortunately, in 2022, Ms. Hanchett began to exhibit signs of mental illness

consistent with bipolar disorder and/or schizophrenia.

        14.      On the evening of November 26, 2022, Ms. Hanchett entered an AT&T

store in Norman, OK exhibiting obvious signs of a serious mental health episode.

        15.      Clearly confused, distressed, and suffering from delusions, Ms. Hanchett

called 911 from the store, and a Norman Police Department (“NPD”) Officer responded

to the scene.




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        16.     The officer acknowledged that Ms. Hanchett appeared to be exhibiting

behavior consistent with a mental health disorder.

        17.     Despite this recognition, the officer ultimately arrested Ms. Hanchett for

misdemeanor obstruction and transported her to the Cleveland County Jail (“Jail”).

        18.     Ms. Hanchett had no criminal history and this was her first time in a

detention facility / jail.

        19.     Upon information and belief, Ms. Hanchett’s mental health status, which

could conservatively be described as acute psychosis, sharply deteriorated upon arrival at

the Jail.

        20.     Turn Key nurse Danille Hay, LPN1, began the medical intake process with

Ms. Hanchett but was unable to complete it due to Ms. Hanchett’s ongoing and severe

mental health crisis.

        21.     Nurse Hay was able to chart, however, that Ms. Hanchett suffered from lupus

and bipolar disorder.




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        LPNs have about a year of nursing education, often culminating in a certificate. The role
of an LPN is, as the name suggests, practical. Typical duties for which an LPN is qualified are:
record a patient’s health history; administer medications (under the supervision of an RN or
physician); perform wound care; measure and record vital signs; observe a patient’s condition.
“LPNs cannot diagnose any medical condition or prescribe any medication.” See American College
Health               Association             Guidelines                   February                  2023,
https://www.acha.org/documents/resources/guidelines/ACHA_Scope_of_Practice_for_Colleg
e_Health_LPNs_Feb2023.pdf. LPNs are expected to report even minor changes in patient care to
a registered nurse or other medical professional. See also, Estate of Jensen by Jensen v. Clyde, 989 F.3d
848, 852 (10th Cir. 2021) (“An LPN designation does not require an associate’s or bachelor’s
degree … [LPNs are] prohibited from prescribing medications, conducting health assessments,
and diagnosing medical conditions.”).

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       22.    Nurse Hay also took Ms. Hanchett’s vital signs. Her blood pressure (143/89)

and pulse (120 BPM) were both elevated. Nurse Hay did not, however, take any steps to

address these concerning vital signs.

       23.    Nurse Hay also noted at 2:34 a.m. on November 27, 2022 that Ms. Hanchett

was “uncooperative” and she was unable “to complete [intake] at this time.”

       24.    Upon information and belief, Ms. Hanchett was placed in a general

population cell despite her obvious and acute psychosis that prevented her from even

completing a medical intake form.

       25.    Pursuant to OAC 310:670-5-8(7), because Ms. Hanchett was held for more

than 48 hours, she was required to undergo a medical examination performed by licensed

medical personnel, which means a medical doctor (“MD”), osteopathic physician (“DO”),

physician’s assistant (“PA”), registered nurse (“RN”), licensed practical nurse (“LPN”),

emergency medical technician at the paramedic level, or clinical nurse specialist.

       26.    Upon information and belief, for the following three days, Ms. Hanchett

continued to deteriorate in the throes of an untreated mental health crisis. During this time,

neither Jail staff nor Turn Key staff did anything to treat Ms. Hanchett’s serious conditions.

Indeed, there is no indication in the medical records that any Turn Key

employee/agent assessed, evaluated, or treated Ms. Hanchett from the time

she was booked until the evening of November 30.

       27.    On November 30, 2022, Ms. Hanchett was found lying on the floor of her

cell completely naked and incoherent.




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        28.   At 6:32 p.m. on November 30, Turn Key employee Diana Myles-

Henderson, Licensed Professional Counselor2 (“LPC”), charted that: Ms. Hanchett was

scheduled for a mental health evaluation and “witnessed nude [and] without inhibition in

the middle of the floor.” Further, Ms. Hanchett “presented to be a threat to herself and

others due to her defiance…PT will be placed on status for her own protection as well as

others at this time.”

        29.   It was also noted that Ms. Hanchett: 1) had poor insight and poor judgment;

2) was confused; 3) made poor eye contact; 4) had flat affect and indifferent mood; and 5)

had suicidal ideation.

        30.   By this point, at the latest, it was abundantly obvious that Ms. Hanchett was

in this midst of a serious and complex psychotic episode which could not be safely or

adequately assessed or treated at the Jail by Turn Key’s unqualified and unsupervised staff.

        31.   On Ms. Hanchett’s chart under “Plan,” Myles-Henderson simply wrote

“referred to security.” Despite acknowledging Ms. Hanchett’s serious condition, Myles-

Henderson failed to refer her to a physician, physician’s assistant (“PA”), nurse practitioner

(“NP”), or registered nurse (“RN”).

        32.   This was deliberate indifference to a serious medical and/or mental health

need.

        33.   Ms. Hanchett was placed on suicide watch on November 30, but she had still

not even completed a medical intake. Nor had she been assessed, evaluated, or treated by


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       LPCs are not authorized or qualified to provide any medical or psychiatric evaluation,
treatment, or assessment.

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a physician, PA, RN, LPN, or NP. Ms. Hanchett had also not been started on any

psychotropic medications despite the obvious need. Of course, Turn Key’s staff at the Jail

was not qualified, nor licensed, to prescribe Ms. Hanchett with any medication.

       34.    On suicide watch, Ms. Hanchett was supposed to be checked by Jail staff

every 15 minutes. Upon information and belief, however, Jail staff repeatedly failed to

conduct the required 15-minute checks.

       35.    Upon information and belief, between November 30 and December 3, 2022,

Ms. Hanchett’s mental health crisis continued completely unabated. She was not evaluated

or treated by a physician, RN, LPN, NP, PA, or even LPC Myles-Henderson. Rather, she

was left alone in her cell, where she lay naked, in a state of catatonia, scared, confused, and

falling deeper into the throes of her mental illness.

       36.    Upon information and belief, Jail staff routinely missed the required 15-

minute checks of Ms. Hanchett.

       37.    In the alternative, when Jail staff conducted some of the required checks, they

observed her bizarre behavior and obviously serious conditions, and failed to report their

observations to medical staff.

       38.    On December 1, 2022 at 10:40 a.m., Turn Key Nurse Natasha Kariuki,

LPN, charted that she observed Ms. Hanchett lying “on floor talking to herself.”

       39.    Nurse Kariuki, however, did not compete a medical intake for Ms. Hanchett,

did not take her vital signs, and provided no assessment or treatment at all. Nurse Kariuki

did not call a physician or higher level provider. Nurse Kariuki was deliberately indifferent

to Ms. Hanchett’s serious medical and mental health needs.


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       40.    On December 1, 2022 at 7:05 p.m., Nurse Hay noted that she observed Ms.

Hanchett “pacing in cell talking to herself.”

       41.    Nurse Hay, however, did not compete a medical intake for Ms. Hanchett,

did not take her vital signs, and provided no assessment or treatment at all. Nurse Hay did

not call a physician or higher level provider. Nurse Hays was deliberately indifferent to Ms.

Hanchett’s serious medical and mental health needs.

       42.    On December 2, 2022 at 6:00 p.m., Turn Key Nurse Tara Doto, LPN noted

that she observed Ms. Hanchett “yelling at window[.]” Nurse Doto took no additional steps

to assess or treat Ms. Hanchett, or refer her to a higher level medical or mental health

provider. This is deliberate indifference to a serious medical and/or mental health need.

       43.    On December 4, 2022 at approximately 11:00 a.m., LPC Myles-Henderson

saw Ms. Hanchett again. She observed Ms. Hanchett in essentially the same position and

mental health condition as she had been on November 30. That is, Ms. Hanchett was seen

“nude without inhibition in the idle of the floor. PT presented to be a threat to herself and

others due to her defiance…PT refused to interact with staff and this provider…PT is not

responding verbally.”

       44.    On December 4, LPC Myles-Henderson noted that Ms. Hanchett’s

“current symptom severity” was “severe – marked impact on inmate’s ability

to function satisfactorily in the current outpatient setting.”

       45.    Myles-Henderson also charted that Ms. Hanchett: 1) had a flat affect and

indifferent mood; 2) was not alert; 3) was not oriented to person, place, time, and situation;




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4) lacked appropriate hygiene; 5) had poor judgment and insight; and 6) exhibited

“monotonous” speech.

       46.    LPC Myles-Henderson additionally charted that there had been “no

progress” after this mental health encounter. Under “overall progress,” she charted “no

change.”

       47.    In other words, Myles-Henderson acknowledged: 1) the severity of Ms.

Hanchett’s condition; and 2) that Ms. Hanchett had made no progress between her

arrival at the Jail on November 26 and December 4.

       48.    Myles-Henderson charted that her plan was to refer Ms. Hanchett to both

“security” and to “medical staff for medication evaluation.”

       49.    Once again, it was obvious that Ms. Hanchett was in this midst of a serious

and complex psychotic episode which could not be safely or adequately assessed or treated

at the Jail by Turn Key’s unqualified and unsupervised staff. Myles-Henderson’s failure to

secure urgent or emergent evaluation and treatment by a prescribing provider constitutes

deliberate indifference.

       50.    On December 4, 2022 at 8:05 p.m., Nurse Doto observed Ms. Hanchett

“laying on floor talking to self.” Nurse Doto took no additional steps to assess or treat Ms.

Hanchett or refer her to a higher level medical or mental health provider.

       51.    LPC Myles-Henderson saw Ms. Hanchett again on December 5, 2022.

       52.    She noted that Ms. Hanchett “WAS SEEN ON SUICIDE WATCH. PT

PRESENTED AVOIDANT, PSYCHOTIC AND INDIFFERENT. PT WAS NOT

RESPONSIVE TODAY BUT WAS LYING NUDE ON THE FLOOR.”


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       53.    Yet again, with deliberate indifference, Myles-Henderson failed to provide or

secure necessary and qualified care for Ms. Hanchett.

       54.    At 8:48 p.m. on December 5, Nurse Doto observed Ms. Hanchett, “laying

on floor eating an apple.” Nurse Doto took no additional steps to assess or treat Ms.

Hanchett, take her vital signs, or refer her to a higher level medical or mental health

provider. This was yet another example of deliberate indifference.

       55.    Upon information and belief, Jail detention staff had still been failing to

regularly conduct the required 15-minute checks on Ms. Hanchett.

       56.    Upon information and belief, when Jail detention staff did complete their

required checks, they observed that Ms. Hanchett had not been adequately eating or

drinking for days, but Jail detention staff failed to report these dangerous symptoms to a

physician or other medical provider.

       57.    At 9:39 p.m. on December 5, on one of the occasions on which Jail staff did

check on Ms. Hanchett, detention officers requested that Nurse Doto take Ms. Hanchett’s

vital signs, as she was in an obvious medical and mental health crisis.

       58.    Due to Ms. Hanchett’s untreated and obvious psychosis, she was unable to

even comply with the basic request to have her vitals taken by Nurse Doto. Upon

information and belief, she was incoherent, delusional, hallucinating, and rapidly

approaching a state of catatonia.

       59.    Instead, of informing a more highly trained medical provider of Ms.

Hanchett’s condition, Nurse Doto simply filled out a “waiver of treatment/evaluation

form” for Ms. Hanchett, writing that “PT refused to let me take vitals.” Ms. Hanchett was


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unable to sign the waiver due to her condition, so Nurse Doto wrote “refused” on the

“patient signature” line.

       60.    This was yet another obvious and dire sign that Ms. Hanchett could not be

safely or adequately assessed or treated in a correctional setting. Nurse Doto was

deliberately indifferent.

       61.    On December 6, 2022 at 7:05 a.m., Turn Key Nurse Jewel Johnson, LPN,

charted that she observed Ms. Hanchett “laying on back moving around [and]

talking to herself. Not responding to verbal stimuli when asked if she is okay.”

Nurse Johnson took no vitals and provided no further assessment or any

treatment.

       62.    On December 6 at approximately 11:30 a.m., Ms. Hanchett was finally seen

by a medical provider other than Myles-Henderson or Turn Key LPNs.

       63.    Turn Key psychiatrist, Jawaun Lewis, MD, provided the following

assessment: Ms. Hanchett was “actively responding to internal stimuli and unable to

provide clear history”; she was not oriented to person, place, time and situation; she was

irrational, confused, and delusional; she had poor judgment and insight; her symptoms

were “currently causing significant distress or impaired functioning”; and her

symptoms were “severe – marked impact on inmate’s ability to function

satisfactorily in the current outpatient setting.”

       64.    Dr. Lewis knew that the staff at the Jail was incapable of providing the level

of care Ms. Hanchett needed. Nonetheless, he left her at the Jail in disregard for the obvious

and excessive risks to her health and safety.


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       65.    At 7:08 p.m. on December 6, Nurse Hay observed Ms. Hanchett “laying on

cell floor, responding to internal stimuli.” Nurse Hay took no additional steps to assess or

treat Ms. Hanchett, or refer her to a higher level medical or mental health provider.

       66.    A short time later, upon information and belief, Nurse Kariuki took Ms.

Hanchett to a holding cell – which contained other inmates – to attempt to complete a

medical intake.

       67.    At approximately 7:19 p.m., it was reported that Ms. Hanchett was assaulted

by another inmate.

       68.    Nurse Kariuki charted: “PATIENT WAS WALKING AROUND IN THE

HOLDING CELL. … PATIENT REFUSED MEDICAL ATTENTION.”

       69.    Nurse Kariuki also noted, “PATIENT STILL NEEDS A MEDICAL

INTAKE. SHE DID NOT WANT TO ANSWER MY QUESTIONS TODAY. SHE IS

ALREADY SCHEDULED TO HAVE HER INTAKE COMPLETED AT ANOTHER

TIME.”

       70.    At approximately 7:24 p.m. on December 6, Nurse Kariuki noted that Ms.

Hanchett “should stay housed in processing until she has been cooperative during the

intake process,” ignoring the obvious fact that Ms. Hanchett was experiencing an ongoing

and escalating mental health crisis that was completely uncontrolled.

       71.    Of course, Ms. Hanchett was not deliberately being “uncooperative.” Nor

did she consciously “refuse” medical attention after she was assaulted. She was in the midst

of an ongoing medical and mental health crisis that required emergent care. Yet, with

negligence and deliberate indifference, Nurse Kariuki failed to provide any treatment or


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assessment of Ms. Hanchett, take her vitals, or refer her to an outside medical provider or

more highly trained medical professional.

       72.    Upon information and belief, Ms. Hanchett was placed back in a suicide

watch cell.

       73.    At approximately 9:30 a.m. on December 7, 2022, Nurse Kariuki was called

to perform a “welfare check” on Ms. Hanchett.

       74.    Nurse Kariuki noted that Ms. Hanchett was “laying on the ground

covered in a green smock…Patient was talking to herself, she stated, ‘they are

going to kill me.’ … Patient needing assistance sitting up for assessment. A full medical

intake has not been able to be completed due to the patient’s medical health status. She is

unable to answer questions.”

       75.    Nurse Kariuki took Ms. Hanchett’s vital signs, which had not been taken

since November 27. Ms. Hanchett’s blood pressure was 88/52, which is alarmingly low,

especially compared to her blood pressure upon intake, which was 143/89. Nurse Kariuki

did nothing to treat Ms. Hanchett’s blood pressure and did not report it to a higher-level

provider. This constitutes negligence and deliberate indifference.

       76.    Upon information and belief, Ms. Hanchett had not been eating or drinking

for several days. Indeed, Nurse Kariuki wrote that, “Per [Turn Key Nurse Practitioner]

Becky Pata, give Gatorade BID x 5 days. She will also need to be monitored drinking

water…”




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       77.     At approximately 12:09 p.m. on December 7, Turn Key Nurse Amanda

Smith, LPN charted that Ms. Hanchett was cleared to move to medical housing “and to

have clothes.”

       78.     Ms. Hanchett had not yet received a full medical intake, was in the midst of

a serious mental health crisis, her blood pressure had plummeted to dangerously low levels,

and had not been eating or drinking, yet she was still not scheduled to be medically assessed by a

physician, PA, or NP and was provided absolutely no medical treatment. The Turn Key and CCSO

staff were completely and utterly failing to provide basic care for Ms. Hanchett.

       79.     On December 7, 2022 at approximately 4:34 p.m., LPC Myles-Hendrson

saw Ms. Hanchett again.

       80.     Myles-Henderson noted that Ms. Hanchett “HAD NOT BEEN EATING

[OR] TAKING MEDICAITON.” She further charted that Ms. Hanchett lacked

appropriate hygiene, had “poor orientation,” had “auditory [and] visual” hallucinations,

had not been eating, and had poor insight.

       81.     Under “psychotropic medication”, Myles-Henderson checked the

box for “none reported.”

       82.     It was abundantly clear that Ms. Hanchett was suffering from a condition

that could not be, and was not being, adequately treated in a correctional setting. With

negligence and deliberate indifference, Myles-Henderson failed to call for an ambulance or

otherwise ensure that Ms. Hanchett was urgently evaluated by a physician, PA, NP, or even

an RN.




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       83.    Shortly after midnight on December 8, 2022, Nurse Doto discovered Ms.

Hanchett “sitting crisscross up against the toilet, not responding to name.” Nurse Doto

called for additional female rovers because Ms. Hanchett was found completely naked, as

she had been for several days prior.

       84.    Upon information and belief, Jail detention staff had not been conducting

their required 15-minute checks of Ms. Hanchett, and Ms. Hanchett had been left alone

and unsupervised in her cell for hours before she was found unresponsive.

       85.    Nurse Doto called 911 and attempted CPR, but it was too late. Ms. Hanchett

had no pulse and was not breathing. Resuscitation efforts were futile, and a Norman Fire

Department official declared Ms. Hanchett deceased.

       86.    Nurse Doto noted that she informed Nurse Amanda Smith, who was the

charge nurse3, about Ms. Hanchett’s condition at approximately 12:45 a.m.

       87.    The Medical Examiner’s office determined that Ms. Hanchett died of heart

failure. Other significant conditions contributing to her death were psychosis with auditory

and visual hallucinations and severe dehydration.

       88.    On information and belief, Ms. Hanchett’s death was would not have

occurred in the absence of her prolonged catatonia and severe dehydration.

       89.    Ms. Hanchett was just 38 years old when she died.

     The Jail’s and Turn Key’s Policy and Custom of Inadequate Medical
      Care


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        Charge nurses oversee the operations of their specific medical unit. By permitting an LPN
to act as charge nurse, Turn Key/CCSO left the Jail’s medical unit to be supervised by a nurse
who was unqualified for – and incapable of fulfilling – the duties to which she was assigned.

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       90.    Paragraphs 1-89 are incorporated herein.

       91.    It is believed that Defendant Turn Key is the largest private medical care

provider to county jails in the state. Turn Key used its political connections to obtain

contracts in a number of counties, including Cleveland County, Oklahoma County, Creek

County, Tulsa County, Muskogee County, Garfield County, Ottawa County,

Pottawatomie County, and Creek County.

       92.    Turn Key has demonstrated, over a period of years, that its medical delivery

system and “plan” is dangerously deficient. At least by the time of Ms. Hanchett’s death,

the County/CCSO knew, or should have known, that Turn Key’s grossly deficient system

and “plan” posed excessive risks to the health and safety of inmates, like Ms. Hanchett,

who suffer from serious and complex medical conditions.

       93.    To achieve net profits, Turn Key implemented policies, procedures, customs,

or practices to reduce the cost of providing medical and mental health care service in a

manner that would maintain or increase its profit margin.

       94.    Under the Contract in effect while Ms. Hanchett was housed at the Jail, Turn

Key was responsible to pay the costs of all pharmaceuticals at the Jail up to just $40,000

per year (both prescription and over-the-counter). If the annual pharmaceutical costs

exceeded this limit, CCSO/Cleveland County was responsible for the excess costs.

       95.    Similarly, Turn Key was responsible to pay the costs for all off-site medical

services and hospitalizations up to just $50,000 per year, and CCSO/Cleveland County

was responsible for any excess costs of inmate hospitalizations and off-site medical care.




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       96.    The Contract provided that Turn Key will arrange and bear the cost of

hospitalization of inmates who – in the opinion of the Turn Key treating physician or

medical director, require hospitalization – up to the agreed-upon limit.

       97.    These contractual provisions create a dual financial incentive to under-

prescribe and under-administer medications and to keep inmates, even inmates with serious

medical needs, at the Jail and to avoid off-site medical costs.

       98.    These financial incentives create risks to the health and safety of inmates like

Ms. Hanchett who have complex and serious medical and mental health needs, such as

bipolar disorder, schizophrenia, catatonia, dehydration, malnutrition, hyperthyroidism,

and heart disease.

       99.    Turn Key provides inadequate guidance, training and supervision to its

medical staff regarding the appropriate standards of care with respect to inmates with

complex or serious medical and/or mental health needs.

       100.   Specifically, Turn Key has an established practice of failing to adequately

assess and treat -- and ignoring and disregarding -- obvious or known symptoms of

emergent and life-threatening conditions.

       101.   These failures stem from the chronic unavailability of an on-site physician,

financial incentives to avoid the costs of inmate prescription medications and off-site

treatment and a failure to train and supervise medical staff in the assessment and care of

inmates with complex or serious medical needs, such as bipolar disorder, schizophrenia,

catatonia, dehydration, malnutrition, hyperthyroidism, and heart disease.




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        102.   Decisions related to the assessment and treatment of Ms. Hanchett were

largely made by LPNs and LPCs who failed to refer Ms. Hanchett to a physician or offsite

medical provider for a medical assessment.

        103.   Indeed, Ms. Hanchett was never medically assessed by a physician, PA, NP,

or even RN. And in fact, her medical intake was never completed in the two weeks she was

at the Jail.

        104.   Ms. Hanchett was also not provided with any medications to address her

obviously serious medical conditions save for being prescribed one psychotropic medication

less than 48 hours before her death. By that point, however, her deterioration was such that

she was incapable of voluntarily accepting medication.

        105.   Additionally, Turn Key has an established practice of failing to adequately

assess inmates with complex and serious medical and mental health needs, including a

failure to regularly take vital signs.

        106.   Even on the rare occasions Turn Key staff takes vital signs from inmates with

complex and serious medical and mental health needs, like Ms. Hanchett, Turn Key has

an established practice of failing to train medical and mental health staff on what constitutes

alarming vital signs; when to report alarming vital signs to a physician; and failing to send

inmates with complex and serious medical and mental health needs to an outside medical

facility for an adequate assessment and treatment.

        107.   Turn Key’s inadequate or non-existent policies and customs were a moving

force behind the constitutional violations and injuries alleged herein.




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       108.   Turn Key’s corporate policies, practices, and customs, as described supra,

have resulted in deaths or negative medical outcomes in numerous cases, in addition to Ms.

Hanchett.

       109.   In November 2014, while detained at the Cleveland County Jail, Robert

Allen Autry developed a sinus infection. Both he and his mother informed Turn Key

medical staff that a traumatic brain injury he suffered as a teenager made him particularly

susceptible to sinus infections causing life threatening brain injections. Mr. Autry and his

mother repeatedly asked medical staff to provide antibiotics, but none were provided.

       110.   Approximately two weeks after she initially contacted medical staff about her

son’s condition and need for care, Turn Key staff called Mr. Autry’s mother asking her to

provide written consent for Mr. Autry to receive emergency surgery.

       111.   He had been found unconscious in his cell and had been transported to the

hospital. Later the same day, Mr. Autry was diagnosed with “a serious bacterial infection

in his brain as a result of an untreated sinus infection.” Mr. Autry underwent emergency

brain surgery and subsequently a serious of other operations and procedures to place a

feeding tube, insert a tracheal tube, and replace a cranial monitoring probe.

       112.   Eventually, the treating physician determined Mr. Autry “was totally

incapacitated from a brain injury resulting from a brain abscess and subdural empyema”

and “would likely never return to an independent state.”

       113.   In June 2016, a nurse who worked for Turn Key at the Garfield County Jail

allegedly did nothing to intervene while a hallucinating man was kept in a restraint chair

for more than 48 hours. That man, Anthony Huff, ultimately died restrained in the chair.


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       114.   On September 24, 2017, a 25-year-old man named Caleb Lee died in the

Tulsa County Jail after Turn Key medical staff, in deliberate indifference to Mr. Lee’s

serious medical needs, provided nearly nonexistent treatment to Mr. Lee over a period of

16 days. Mr. Lee was not seen by a physician in the final six (6) days of his life at the Tulsa

County Jail (and only once by a psychologist during his entire stay at the jail), despite the

fact that other Turn Key staff noted that he was suffering from: tachycardia, visible tremors,

psychosis, symptoms of delirium, stage 2 hypertension, paranoia, and hallucinations. Turn

Key staff failed to transfer Mr. Lee to an outside medical provider despite these obviously

serious symptoms that worsened by the day until Mr. Lee’s death on September 24, 2017.

       115.   An El Reno man died in 2016 after being found naked, unconscious and

covered in his own waste in a cell at the Canadian County Detention Center, while

ostensibly under the care of Turn Key medical staff. The Office of the Chief Medical

Examiner found the man had experienced a seizure in the days before his death.

       116.   Another man, Michael Edwin Smith, encountered deliberate indifference to

his serious medical needs at the Muskogee County Jail in the summer of 2016. Mr. Smith

became permanently paralyzed when the jail staff failed to provide him medical treatment

after he repeatedly complained of severe pain in his back and chest, as well as numbness

and tingling. Smith claims that cancer spread to his spine, causing a dangerous spinal

compression, a condition that can cause permanent paralysis if left untreated. Smith asserts

that he told the Turn Key-employed physician at the jail that he was paralyzed, but the

physician laughed at Smith and told him he was faking. For a week before he was able to

bond out of the jail, Smith was kept in an isolation cell on his back, paralyzed, unable to


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walk, bathe himself or use the bathroom on his own. He was forced to lay in his own urine

and feces because staff told Smith he was faking paralysis and refused to help him.

       117.   In November of 2016, Turn Key staff disregarded, for days, the complaints

and medical history of James Douglas Buchanan while he was an inmate in the Muskogee

County Jail. As noted by Clinton Baird, M.D., a spinal surgeon:

          [Mr. Buchanan] is a 54-year-old gentleman who had a very complicated
          history… [H]e was involved in being struck by a car while riding bicycle several
          weeks ago. … He ended up finding himself in jail and it was during this
          time in jail that he had very significant clinical deterioration in his
          neurologic status. [I]t is obvious that he likely developed the
          beginnings of cervical epidural abscess infection in result of his critical
          illness [and] hospitalization, but then while in jail, he deteriorated
          significantly and his clinical deterioration went unrecognized and
          untreated until he was nearly completely quadriplegic.

       118.   On September 24, 2017, a 25-year-old man named Caleb Lee died in the

Tulsa County Jail after Turn Key medical staff, in deliberate indifference to Mr. Lee’s

serious medical needs, provided nearly nonexistent treatment to Mr. Lee over a period of

16 days. Mr. Lee was not seen by a physician in the final six (6) days of his life at the Tulsa

County Jail (and only once by a psychologist during his entire stay at the jail), despite the

fact that other Turn Key staff noted that he was suffering from: tachycardia, visible tremors,

psychosis, symptoms of delirium, stage 2 hypertension, paranoia, and hallucinations. Turn

Key staff failed to transfer Mr. Lee to an outside medical provider despite these obviously

serious symptoms that worsened by the day until Mr. Lee’s death on September 24, 2017.

       119.   Like Ms. Hanchett, Mr. Lee was largely assessed and treated by LPNs during

his nearly three-week incarceration at the Jail before his death.




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        120.    Indeed, a physician never once saw Mr. Lee for a week before his death,

despite the fact that his symptoms and conditions, including hypertension, bipolar disorder,

and hallucinations, continued to deteriorate.

        121.    In January 2018, Marconia Kessee died of drug toxicity in the Cleveland

County Jail after Turn Key wholly failed to take any actions – including performing a

medical intake evaluation – in response to profuse sweating, inability to walk, incoherent

speech, and seizure-like convulsions of Mr. Kessee and instead put him in a cell where he

died within hours. Cleveland County Jail detention staff were aware of the same symptoms

and performed wholly inadequate, less than one second long sight checks of Mr. Kessee

throughout the last hours of his life. Turn Key staff did not even perform a single sight

check of Mr. Kessee during the time he lay dying, until he was found completely

unresponsive.

        122.    On September 6, 2019, Dunniven Phelps was booked in to the Tulsa County

Jail.

        123.    During the book-in process, on September 6 at approximately 7:35 p.m.,

Turn Key employee/agent Richard Dutra filled out an Intake Screening form. Pertinently,

the Intake Screening form indicates that Mr. Phelps was being treated for hypertension

(high blood pressure) at the time and had been prescribed medication by his physician to

treat the condition. During the intake screening process, Mr. Dutra further documented

that Mr. Phelps was diabetic and had previously been diagnosed with mental health

conditions.




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        124.   During the medical intake process, Mr. Phelps complained that he had a

severe headache, neck pain, and burry vision, which are common symptoms of a stroke.

        125.   Despite the fact that Mr. Phelps told Mr. Dutra about his current symptoms

and history of hypertension, Mr. Dutra recommended that Mr. Phelps be placed in general

population and that he did not need a referral for a continuity of care plan.

        126.   Throughout the night of September 6, 2019, Mr. Phelps’ symptoms

significantly worsened, as he was obviously suffering from a stroke.

        127.   By the morning of September 7, Mr. Phelps was experiencing severe

weakness on the entire left side of his body, leaving him barely able to walk, as his left leg

was almost completely numb.

        128.   At approximately 9:37 a.m. on September 7, Turn Key Nurse Patty

Buchanan “assessed” Mr. Phelps, who told her that he could hardly feel or move the left

side of his body and his other symptoms, such as dizziness and blurred vision, were

worsening. Nurse Buchanan recorded Mr. Phelps’ blood pressure as 163/103, which the

American Heart Association classifies as Stage 2 hypertension.

        129.   Nurse Buchanan failed to inform a physician or even an RN or Nurse

Practitioner about Mr. Phelps’ alarming symptoms and worsening condition, in deliberate

indifference to his serious medical needs.

        130.   Further, while Nurse Buchanan allegedly counseled Mr. Phelps on the

importance of taking his medications, there is no evidence that she, or anyone else at

TCSO/Turn Key, ever gave Mr. Phelps any medications during his time at the

Jail.


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        131.   On one occasion, when Mr. Phelps could not get off of the ground because

he could not use his left leg or left arm, a DO threatened to “Taze” Mr. Phelps if he didn’t

get off the ground.

        132.   Mercifully, an inmate who was an amputee let Mr. Phelps use his wheelchair

so that he could try to get an actual medical assessment and treatment at the medical unit

of the Jail.

        133.   At approximately 2:19 p.m. on September 7, a DO finally agreed to wheel

Mr. Phelps to the medical unit, where he was seen by Nurse Gann.

        134.   Shockingly, Nurse Gann thought Mr. Phelps was faking his emergent

condition. Jail surveillance video shows Mr. Phelps lying on the ground in the medical unit,

unable to walk, stand, or effectively use his arms, while Nurse Gann drops a piece of paper

onto his face, presumably because she thought Mr. Phelps would move out of the way if he

was capable of moving. Nurse Gann and other Turn Key personnel left Mr. Phelps lying

on the floor, helpless and in immeasurable pain.

        135.   At 4:05 p.m. on September 7, Mr. Phelps was finally seen by Elizabeth

Martin, Advanced Practical Registered Nurse (“APRN”).

        136.   APRN Martin noted that Plaintiff had a “3 day history of evolving

stroke like symptoms.” She also noted that Plaintiff’s “speech [was] slurred” and that

he had “left side facial droop” and weakness on his left side. By this time, Plaintiff’s blood

pressure was 183/114, which is considered a hypertensive crisis that requires

immediate consultation and assessment by a physician.




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       137.   Mr. Phelps was finally sent to Hillcrest Medical Center at approximately 6:15

p.m. on September 7, 2019.

       138.   Once at Hillcrest, Mr. Phelps was transferred to the Intensive Care Unit

(“ICU”) where physicians provided emergent, live-saving treatment.

       139.   Unfortunately, the delay in treating Mr. Phelps, due to Turn Key and Jail

staff’s deliberate indifference, resulted in Mr. Phelps suffering permanent damage.

       140.   Mr. Phelps is now permanently paralyzed on the entire left side of his body

and will require significant medical treatment for the rest of his life.

       141.   From June to October 2019, Bryan Davenport, an inmate at the Cleveland

County Jail, was denied adequate medical care by Turn Key personnel. Mr. Davenport

informed Turn Key staff that he had hypertension and HIV, yet he was not seen by a

physician, physician’s assistant, or nurse practitioner for nearly a month after his arrival at

the jail. Davenport provided Turn Key staff with the names of his providers, his need for

HIV medications, and the names of those medications. When a Turn Key nurse finally saw

Davenport, she told him that she did not want to start treatment pertaining to his HIV and

left him without vital medications for several months. Turn Key also refused to treat

Davenport under their “chronic care” protocol, instead requiring him to submit multiple

sick calls just to attempt to get his medications so that Turn Key and Cleveland County

could charge Davenport $15/visit.

       142.   In October-November 2020, an inmate at the Cleveland County Jail slowly

died of his known congestive heart failure as Turn Key and its employees ignored the

obvious and severe worsening of his condition, including extreme edema and swelling, fluid


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leaking from his legs, urinary incontinence, and clear sings of infection. Turn Key staff

failed to properly assess, evaluate, or treat the inmate and failed to refer him to a more

highly trained provider or an outside medical provider.

       143.   In July 2021, an inmate named Perish White died of COVID-19, which he

contracted in the Creek County Jail.

       144.   Mr. White began feeling ill on or about July 5, 2021, and reported his

symptoms to Turn Key staff at the Creek County Jail.

       145.   By July 8, 2021, at the latest, Mr. White began experiencing shortness of

breath and coughing. On information and belief, Mr. White also stopped eating and was

refusing meal trays. These drastic changes in Parish’s condition, particularly in light of the

ongoing COVID-19 pandemic, made it obvious, even to a layperson, that Perish needed

emergent evaluation and treatment from a physician.

       146.   From July 5 to July 16, 2021, Turn Key staff never once took Mr.

White’s vital signs, despite his repeated complaints that he was seriously ill, his obvious

symptoms, and the fact that COVID-19 was raging through the Creek County Jail.

       147.   On July 19, 2021, Mr. White was finally taken to OSU Medical Center in

Tulsa for COVID-19 and respiratory failure. At the time, his oxygen saturation level was

in the 70's. He was diagnosed with acute kidney failure. He was placed on life support,

including a ventilator and dialysis.

       148.   Mr. White died on July 30, 2022.

       149.   April 13, 2021, Christa Sullivan died at the Oklahoma County Jail (“OCJ”),

which also uses Turn Key as its jail medical provider.


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       150.   Ms. Sullivan had a history of severe mental illness, including depression,

bipolar disorder, schizophrenia, and several previous suicide attempts.

       151.   Ms. Sullivan was housed at the OCJ for nearly a year prior to her death.

Throughout her time at OCJ, she exhibited extremely serious symptoms, including

multiple instances of self-harm, suicidal ideation, a refusal to eat or drink, rapid weight loss,

and catatonia.

       152.   Approximately two months before Ms. Sullivan’s death, numerous Turn Key

providers, including nurses and two physicians, acknowledged Ms. Sullivan’s emergent

conditions and the fact that it was impossible for Ms. Sullivan to receive the life-saving care

she needed in a jail setting.

       153.   In fact, one Turn Key physician noted, with respect to Ms. Sullivan:

       DEPRESSED AFFECT, SEVERE ADULT FAILURE TO THRIVE.
       SEEMS AT HIGH RISK FOR POOR OUTCOME. I HAVE
       DISCUSSED HER CASE WITH PSYCHE, NURSING, AND WOUND
       CARE AND DO NOT SEE ANY LIKELY TO SUCCEED
       INTERVENTIONS IN THIS SETTING. SHE DOES NOT SEEM
       COMPETENT BY ANY BEHAVIORAL PARAMETER THAT I CAN
       SEE. WILL REDISCUSS OPTIONS WITH DR. CUKA AND DR.
       COOPER.

       154.   Yet, Turn Key providers allowed Ms. Sullivan to languish in her cell for

months, cationic and barely eating, until her eventual death.

       155.   After Ms. Sullivan’s death, Kevin Wagner, a Captain at OCJ told an

investigator, “[Ms. Sullivan] went from 148 when she got here to … she looks like a

skeleton.” Captain Wagner also told the investigator he helped get Ms. Sullivan to a local




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hospital for a week at one point “because I felt that medical (in the Jail) wasn’t

providing her care enough.”

        156.   Another staff member told an investigator that Ms. Sullivan deteriorated “to

a bag of bones.”

        157.   On June 12, 2021, Joseph Stewart was booked into the Cleveland County

Jail.

        158.   On June 13, 2021, Mr. Stewart advised a Jail detention officer and Turn Key

Nurse Angela Albertson, LPN, that he needed to go to the hospital because his arm had

been hurting since the day of his arrest and because he had an L1 (lumbar vertebrae)

fracture that was hurting.

        159.   Responsible Jail and Jail medical staff did nothing other than instruct Mr.

Stewart to “not lay on his right side and rest arm.”

        160.   Two hours later, Mr. Stewart advised Turn Key Nurse Sarah Garcia, LVN,

of his arm and back pain.

        161.   In response, Mr. Stewart was moved to a bottom bunk. Nurse Garcia did not

alert any other medical provider of Mr. Stewart’s condition, complaints, or her decision

making.

        162.   On June 17, 2021, Nurse Albertson responded to a sick call placed by Mr.

Stewart. Nurse Albertson noted that Mr. Stewart had increased pain and reduced range of

motion in his left arm and a belief that it might be associated with his back.

        163.   On June 19, 2021, Turn Key LPN Amanda Stehr observed Mr. Stewart

“laying on the …floor” in distress with a pain rating of 10/10. She charted that Mr. Stewart


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asked “multiple times” to be transported to the hospital, that he was experiencing the worst

pain he had ever been in and he could not handle it.”

       164.   In response, Nurse Stehr called a Turn Key NP, whose only action was

to prescribe an 800 mg ibuprofen, despite Mr. Stewart’s obviously serious –

and steadily worsening – symptoms and condition.

       165.   On June 21, 2021, Turn Key CRNP Becky Pata was informed that Mr.

Stewart had fractured his L1 approximately three months previous, that he had

experienced right shoulder pain since booking, and that he had a history of herniated discs.

       166.   Pata observed Mr. Stewart limping and “obviously in a great deal of pain”

before charting that she would “send to ER out of abundance of caution.”

       167.   After being transported to Norman Regional Hospital (“NRH”), Mr.

Stewart’s L1 compression fracture was confirmed.

       168.   Mr. Stewart was returned to the Jail after his short visit to the NRH ER.

       169.   On June 30, 2021, Mr. Stewart reported to Pata that he didn’t feel well. He

was taken back to NRH to be evaluated for pneumonia. Mr. Stewart reported symptoms

including shortness of breath and unilateral leg swelling for the past month. After treating

and discharging Mr. Stewart, NRH provided discharge instructions to the Jail and Turn

Key that Mr. Stewart needed to return to the hospital in the event of “worsening symptoms

or any symptoms of concern,” “trouble breathing,” or any “new symptoms or other

concerns.”

       170.   On July 4, 2021, Mr. Stewart reported the following worsening or new

conditions to Defendant Nurse Kariuki: 1) chest pain of 10/10; and 2) spitting up blood.


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Nurse Kariuki observed that Mr. Stewart appeared to be in distress with “reddish-green

mucous…in the toilet.”

      171.     In response to these alarming (and new) symptoms, Kariuki did nothing other

than click a preformatted box suggesting that she instructed him to “increase fluids,

medication use, follow-up sick call if no improvement.”

      172.     Upon information and belief, Nurse Kariuki failed to report these symptoms

to a physician, NP, PA, or RN, despite being aware of NRH’s discharge instructions.

      173.     On July 5, 2021, Mr. Stewart reported to Nurse Albertson additional

worsening or new conditions, including difficulty breathing and persistent coughing.

      174.     In response to these new symptoms/worsening condition, Nurse Albertson

did nothing other than instruct Mr. Stewart to “take good deep breaths so as not to get

pneumonia.”

      175.     On July 7, 2021, Mr. Stewart reported to CRNP Pata that he now was

coughing up blood streaked sputum and had heartburn.

      176.     Pata, despite having knowledge of the NRH discharge instructions, did not

contact a physician or the hospital and merely ordered omeprazole and prednisone for Mr.

Stewart.

      177.     On July 14, 2021, Mr. Stewart reported the following worsening or new

conditions to Turn Key LPN Christina Meza: 1) “woke up with blood dripping down the

side of my face”; 2) pale-looking appearance; 3) persistent coughing; and 4) “leaning

forward to breathe with hands on knees.”




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       178.   Meza did nothing other than order Guaifenesin, a generic cough medicine.

She did not report Mr. Stewart’s condition to a physician or the hospital despite knowing

of NRH’s discharge instructions.

       179.   Within an hour of Mr. Stewart’s complaint to Meza, Turn Key and Jail staff

allowed Mr. Stewart’s release without disclosing the extent of his medical condition. Mr.

Stewart was released to the custody of a deputy from Kingfisher county at approximately

7:59 p.m.

       180.   No one informed the Kingfisher deputy of Mr. Stewart’s emergent condition

or NRH’s orders to bring Mr. Stewart back to the hospital if he had new or worsening

symptoms.

       181.   Upon arrival at the Kingfisher Jail, approximately 60 miles from Norman,

the medical staff at the Kingfisher Jail refused to admit Mr. Stewart based on his dire

medical condition.

       182.   The transporting deputy then took Mr. Stewart to a local hospital before he

was transferred to a hospital in Enid where he died the following day, July 15, 2021.

       183.   Mr. Stewart died due to acute bacterial endocarditis, acute respiratory

failure, congestive heart failure, and hyponatremia.

       184.   On August 3, 2021, Gregory Neil Davis was arrested by Oklahoma City

Police Department (“OCPD”) Officers and transported to the OCJ.

       185.   Mr. Davis was charged with indecent exposure, and was observed by officers

to be in the midst of an obvious mental health crisis.




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       186.   Upon arriving at the OCJ, Mr. Davis was not evaluated by Turn Key

personnel, nor was he tested for COVID-19 or have his vital signs taken.

       187.   Mr. Davis was finally seen by a Turn Key provider, Sanaria Okongor, LPC,

on August 6, 2021. Ms. Okongo noted that Mr. Davis suffered from signs of psychosis, but

she made no treatment recommendations or took any actions other than to recommend

follow-up a few days later.

       188.   Ms. Okongor saw Mr. Davis again on August 9, 2021 and again noted he

appeared to be suffering from psychosis. Ms. Okongor again failed to make any treatment

recommendations or take any actions, including taking vital signs or referring Mr. Davis to

a higher-level provider.

       189.   For at least the final few days of Mr. Davis’s life – from August 9-12, 2021 –

inmates in nearby cells heard Mr. Davis beating at his cell door, crying, and begging for

medical help but no one came to assist him, provide him medical care, or refer him to a

physician or outside medical provider.

       190.   On the morning of August 12, 2021, at approximately 6:45 a.m., Mr. Davis

was observed in his cell in need of emergency medical attention by Lt. Morris and Ronald

Anderson, employees and/or agents of the Oklahoma County Criminal Justice Authority

(“OCCJA”).

       191.   Upon information and belief, EMSA was not called until approximately 9:17

a.m. When EMSA arrived, paramedics transported Mr. Davis to a nearby hospital, where

he was pronounced dead.




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       192.   Mr. Davis died of a perforated duodenal ulcer, a condition that does not

normally result in death unless left untreated for a substantial period of time, often more

than 24 hours.

       193.   From August 3-12, 2021, the only Turn Key personnel who saw, evaluated,

assessed, or “treated” Mr. Davis was an LPC, who saw Mr. Davis on two occasions.

       194.   Mr. Davis was never seen by a Turn Key physician nor was he referred to an

outside medical provider other than the day of his death, when it was far too late.

       195.   In August 2021, Larry Price, an intellectually disabled, 55-year-old inmate at

the Sebastian County (Arkansas) Adult Detention Center, starved to death after responsible

jail and Turn Key personnel failed to properly treat his medical and mental health

conditions, including schizophrenia, for a year.

       196.   The six foot, two inch Mr. Price entered the jail weighing approximately 185

pounds. By the time he was found unresponsive in his cell 366 days later, he weighed 90

pounds according to EMS reports. He had also been ingesting his own urine and feces

according to reports.

       197.   The medical examiner’s report noted that Mr. Price was COVID-19 positive

when he died, but the official cause of death was listed as “acute dehydration and

malnutrition.”

       198.   For over a year, Turn Key personnel watched as Mr. Price deteriorated both

physically and mentally, doing nothing to assess, evaluate, or treat his conditions. Nor did

Turn Key personnel refer Mr. Price to an outside medical provider.




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       199.    On December 24, 2021, Dean Stith, a 55-year-old Black man, was booked

into the Tulsa County Jail after being arrested for the non-violent misdemeanor of false

reporting of a crime.

       200.    Mr. Stith suffered from numerous pre-existing medical and mental health

conditions, including hypertension, bipolar disorder and/or schizophrenia, and serious

dementia, which was obvious even to a layperson. Indeed, upon information and belief, the

charges Mr. Stith faced - false reporting of a crime – were the result of symptoms of his

dementia.

       201.    During the book-in process, on December 25, 2021 at approximately 12:14

a.m., Turn Key employee/agent James Flora, LPN filled out an Intake Screening form.

Pertinently, the Intake Screening form indicates that Mr. Stith: was being treated for

hypertension; had an unstable gait; had open sores and wounds on both of his hands; was

disheveled, disorderly, and insensible.

       202.    Mr. Stith’s condition continued to deteriorate throughout his stay at the Jail.

       203.    On January 5, 2022, at approximately 4:29 p.m., Turn Key Nurse

Practitioner Megan Rasor saw Mr. Stith for the purported purpose of “[hypertension] and

wounds to BLE.” NP Rasor charted that Mr. Stith was unable to recall his medication

regimen and was “A&O [alert and oriented] to person and place only. Patient has 2+

pitting edema to BLE with multiple open areas…4 Patient to wear compression hose

but is noncompliant.”


4
        Pitting edema is when a swollen part of your body has a dimple (or pit) after you press it
for a few seconds. It can be a sign of a serious health issue, such as a blood clot, congestive heart

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       204.    On January 7, 2022, Mr. Stith’s blood pressure was measured at 101/68, his

pulse was 60, which is in the low range. Inexplicably, his oxygen saturation was not taken.

       205.    Also on January 7, Judy Wagga, a Turn Key Psychiatric Nurse Practitioner,

saw Mr. Stith and noted that he “appeared to be responding to internal stimuli.” This was

a sign that Mr. Stith was suffering from acute psychosis, an emergent situation.

       206.    On January 8, 2022, Mr. Stith’s pulse rose to 98 and his blood pressure rose

to 124/97. Yet, despite these fluctuations, Mr. Stith was not put on any blood pressure

medicine or given additional treatment.

       207.    On January 9, 2022, Alicia Irvin, Turn Key psychologist, noted Mr. Stith’s

dementia and wrote that he had slurred speech, a new alarming symptom, and was not

responding appropriately to questions. Dr. Irvin described Mr. Stith as having a “Major

Neurocognitive Disorder.” But Mr. Stith was not sent to an outside medical provider nor

referred to a physician.

       208.    Mr. Stith’s pulse had also plummeted to 56, which is considered bradycardia.

Bradycardia can be a serious problem if heart can't pump enough oxygen-rich blood to the

body. Symptoms of bradycardia include confusion, such as the confusion repeatedly

displayed by Mr. Stith.

       209.    By this point it was abundantly clear that Mr. Stith was suffering from a

condition that could not be adequately treated in a correctional setting. With negligence




failure, kidney disease, liver disease or lung disease. Nurse Lewis’ note indicates that Mr. Stith had
pitting edema in both legs.

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and deliberate indifference, Dr. Irvin, who is not a physician, failed to call for an ambulance

or otherwise ensure that Stith was urgently evaluated by a physician.

       210.   At approximately 2:46 p.m. on January 9, Turn Key Nurse Sarah Lewis,

LPN, observed Mr. Stith “drooling, tangential thought, not responding

appropriately to questions, diminished skin turgor,5 2+ pitting edema to

BLEs, and full body weakness.” Nurse Lewis also noted that Mr. Stith was unable

to urinate.

       211.   Particularly when coupled with his worsening condition over a period of days,

Nurse Lewis’ note clearly reflects that Mr. Stith was in a dire condition and in obvious need

of emergent care that could not be provided in a correctional setting. Nonetheless, with

negligence and deliberate indifference, Nurse Lewis failed to call for an ambulance or even

contact a physician.

       212.   On January 10, 2022, at approximately 4:05 a.m., Mr. Stith was found

wedged between his bunk and the wall in his cell. TCSO Detention Officer Davis notified

Turn Key Nurses Nikki Copeland and Sarah Schumacher, who found that Mr. Stith was

“cool to the touch and arms contracted to chest.”

       213.   EMSA was called and paramedics arrived at approximately 4:39 a.m.,

finding Mr. Stith unresponsive. The EMSA paramedics documented that Jail “health

care staff are poor historians and are unsure of timeline.”




5      A decrease in skin turgor is a late sign of dehydration.

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       214.    The paramedics noted that Mr. Stith was displaying decorticate posturing,

which is a pose in which someone has rigid, extended legs, arms bent toward the center of

their body, pointed and turned in toes, curled wrists, and balled hands. Decorticate

posturing is caused by abnormal brain conditions such as a stroke, concussion, traumatic

brain injury, brain bleed, brain tumor, or infection. Mr. Stith was transferred to St. John

Medical Center where he presented in cardiac arrest.

       215.    Providers at St. John were unable to resuscitate Mr. Stith, who passed away

shortly after his arrival.

       216.    The Office of the Chief Medical Examiner of Oklahoma determined that

Mr. Stith died due to: 1) acute bronchopneumonia6 due to complications of COVID-19;

and 2) hypertensive atherosclerotic cardiovascular disease.

       217.    On December 20, 2022, less than two weeks after Ms. Hanchett died,

another inmate at the Cleveland County Jail, Kathryn Milano, passed away.

       218.    In February 2023, Joe Allen Sims, Jr., a mentally ill inmate who was supposed

to be under “critical watch,” died by suicide at the Cleveland County Jail.

       219.    Mr. Sims was discovered by Jail staff 77 minutes after he hanged himself,

despite the fact that he was supposed to be closely monitored due to his mental state.

       220.    Upon information and belief, Ms. Milano had an extensive history of medical

and mental health issues that were poorly controlled while she was housed at the Jail,

consistent with the Jail’s and Turn Key’s policies and practices as discussed, supra.




6      Symptoms of bronchopneumonia include muscle aches, confusion or delirium.

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       221.   In each of these instances, there was an utter lack of physician supervision

over the clinical care provided to the inmates. And each of these inmates, with obvious,

serious and emergent medical and mental health conditions, was kept at the jail when they

clearly should have been transported to a hospital or other off-site provider capable of

assessing and treating the conditions.

       222.   By its design, the Turn Key medical system was destined to fail.

       223.   At all pertinent times, Dr. William Cooper, D.O., was the “Medical

Director” for Turn Key. In an effort to cut costs, Turn Key and Dr. Cooper spread the

few physicians and mid-level providers they employ far too thin, making it impossible for

them to medically supervise, let alone provide appropriate on-site medical care, at any of

the county jails under contract with Turn Key.

       224.   In essence, Turn Key employs a small number of mid-level providers, such

as physician’s assistants or nurse practitioners, and physicians who travel all over the State

(and sometimes to other states, such as Arkansas and Kansas) to the dozens of jails staffed

by Turn Key for short blocks of time each week. This constitutes plainly insufficient

medical staffing, particularly for a larger institution like the Cleveland County Jail.

       225.   With no physician reasonably available to medically supervise the care

provided to the inmates, undertrained personnel were left to practice outside the scope of

their training and licensure.

       226.   In other words, Turn Key had a policy, practice or custom of inadequately

staffing county jails, including the Cleveland County Jail, with undertrained and

underqualified medical personnel who are ill-equipped to evaluate, assess, supervise,


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monitor or treat inmates, like Ms. Hanchett, with complex and serious medical and mental

health needs, including heart disease, bipolar disorder, schizophrenia, catatonia,

dehydration, and malnutrition.

       227.   With wholly inadequate physician oversight of the clinical care, the non-

physician staff was improperly, and dangerously, expected to act in the role of a physician,

with the understanding that off-site care was to be avoided.

       228.   This system, designed to minimize costs at the expense of inmate care,

obviously placed inmates with complex, serious and life-threatening medical and mental

health conditions, like Ms. Hanchett, at substantial risk of harm.

       229.   This system, which Turn Key implemented company-wide, was substantially

certain to, and did, result in constitutional deprivations.

       230.   CCSO and the County were on notice that the medical care and supervision

provided by Turn Key and the detention staff was wholly inadequate and placed inmates

like Ms. Hanchett at excessive risk of harm. However, CCSO and the County failed to

alleviate the known and obvious risks in deliberate indifference to the rights of inmates like

Ms. Hanchett.

       231.   Moreover, Dr. Cooper, Turn Key’s Medical Director, has maintained a

policy, at the corporate level, of intentionally omitting information about inmates’ negative

health outcomes from written documentation, and has ordered Turn Key personnel to

keep such bad news out of written communications.

       232.   This policy, in and of itself, constitutes deliberate indifference to the health

and safety of Turn Key’s patients.


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       233.   Turn Key has maintained a custom of inadequate medical care and staffing

at a corporate level which poses excessive risks to the health and safety of inmates like Ms.

Hanchett.

       234.   There is an affirmative link between the aforementioned unconstitutional

acts and/or omissions Turn Key staff, including of Nurse Doto, Nurse Kariuki, and LPC

Myles-Henderson, and policies, practices and/or customs which Turn Key promulgated,

created, implemented and/or possessed responsibility for.

       235.   Ms. Hanchett displayed alarming symptoms for the entirety of the two weeks

she was housed at the Jail, including bipolar disorder, schizophrenia, catatonia,

dehydration, malnutrition, and heart disease. In deliberate indifference to these serious

medical needs, neither Nurse Doto, Nurse Kariuki, LPC Myles-Henderson, nor any other

Turn Key employee/agent adequately treated Ms. Hanchett’s symptoms and conditions.

When her health deteriorated to the point that she was completely incoherent, was not

eating or drinking, and spent hours every day lying on the floor of her cell naked, she was

kept at the Jail for an extended period of time, when it was obvious she needed a higher

level of care. This was callous and reckless indifference. Indeed, the only time that Ms.

Hanchett’s vital signs were taken while she was at the Jail were the during the initial

attempted book-in process and the day before she ultimately passed away.

       236.   It was obvious that Ms. Hanchett’s conditions could not be effectively treated

in a correctional setting. Yet, despite the obvious and excessive risks to her health and

safety, Nurse Doto, Nurse Kariuki, LPC Myles-Henderson, and the other Turn Key




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employees/agents referenced above, refused to send her to the hospital or other facility

with a higher level of care.

       237.     To the extent that no single Turn Key employee/agent violated Ms.

Hanchett’s constitutional rights, Turn Key is still liable under a theory of a systemic failure

of its policies and procedures as described herein. There were such gross deficiencies in the

medical delivery system at the Jail that Ms. Hanchett was effectively denied constitutional

medical care.

     Sheriff/CCSO/ County’s Custom of Inadequate Medical Care

       238.     Counties may be held liable for the maintenance of an unconstitutional

health care delivery system. In Burke v. Regalado, 935 F.3d 960 (10th Cir. 2019), the Tenth

Circuit upheld a jury verdict against the Tulsa County Sheriff for his failure to supervise

based on evidence that he maintained a policy or custom of insufficient medical resources

and training, chronic delays in care and indifference toward medical needs at the Tulsa

County Jail. See Burke, 935 F.3d at 999-1001.7

       239.     As evidenced, supra, the Jail/CCSO/the County have maintained an

unconstitutional health care delivery system.




7
  See also v. Crowson v. Washington Cty. Utah, 983 F.3d 1166, 1192 (10th Cir. 2020) (finding
that a county may face liability based on “theory [of] systemic failure of medical policies
and procedures”); Burke v. Glanz, No. 11-CV-720-JED-PJC, 2016 WL 3951364, at *23
(N.D. Okla. July 20, 2016) (“[B]ased on the record evidence construed in plaintiff's favor,
a reasonable jury could find that, in the years prior to Mr. Williams's death in 2011, then-
Sheriff Glanz was responsible for knowingly continuing the operation of a policy or
established practice of providing constitutionally deficient medical care in
deliberate indifference to the serious medical needs of Jail inmates like Mr. Williams.”).

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       240.    Indeed, by simply retaining Turn Key as the medical provider at the Jail in

light of the obviously substandard care that Turn Key has provided – and continues to

provide – to inmates at the Cleveland County Jail and county jails all over Oklahoma,

Arkansas, and Kansas, CCSO/the County are deliberately indifferent to inmates’ serious

medical needs.

       241.    CCSO/the County are aware, or should be aware8, of Turn Key’s repeated

failures to provide constitutionally adequate medical care for inmates, yet CCSO/the

County have made the conscious decision to retain Turn Key as the Cleveland County

Jail’s medical provider.

       242.    In addition, CCSO has utterly failed to train its detention staff in how to

properly monitor, supervise, or care for inmates, like Ms. Hanchett, with complex or serious

medical needs, with deliberate indifference to the health and safety of those inmates.

       243.    An inspection conducted by the Oklahoma State Department of Health’s Jail

Inspection Division (“JID”) in March 2023 revealed that jailers had missed numerous cite

checks on inmates, including inmates who were supposed to be under critical watch, in

December 2022 and January 2023. One of those inmates who jailers failed to adequately

monitor was Ms. Hanchett. Logs revealed that detainees who were supposed to be closely




8
  The negative medical outcomes discussed, supra, at jails in which Turn Key is the medical
provider, have garnered substantial media attention. Further, upon information and belief, when
Turn Key submits a request for proposal (“RFP”) to a county when it is vying to become the jail’s
medical provider, Turn Key discloses a list of the current and previous lawsuits against it in which
inmates, or an inmate’s estate, has alleged constitutionally inadequate medical care.

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monitored were left alone and unsupervised for up to 45 minutes at a time on December 5

and 6, 2022.

       244.    An inspection in May of 2022 revealed that detention officers missed dozens

of 15-minute checks required for detainees under suicide watch at the Jail.

       245.    In one case, the report shows that jailers missed 50 of 73 checks needed over

18 hours for a detainee deemed a suicide risk.

       246.    The report also revealed that jailers missed dozens of other checks on inmates

who were not on a heightened monitoring schedule.

       247.    Yet, upon information and belief, CCSO/the County failed to ensure that

the Jail was properly staffed, jailers were adequately trained, and that jailers conducted

their required checks, especially on inmates, like Ms. Hanchett, who had serious

medical/mental health needs and/or required close monitoring.

       248.    In March 2023, the Board of County Commissioners of Cleveland County

approved a plan to increase medical and mental health staff at the Jail following the deaths

of Ms. Hanchett, Ms. Milano, and Mr. Sims.

       249.    County Commissioner Rod Cleveland said that the move was not a

response to the deaths of Hanchett, Milano, and Sims, but rather to the Jail’s

growing population.

       250.    In 2022, the Jail’s average daily population was 541 detainees compared to

367 three years earlier, according to reports from Turn Key.




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       251.   Medical staff reported that there were twice as many sick calls and twice as

many mental health needs in 2022 compared to 2019, but during that time period, the

County took no steps to increase detention or medical staffing at the Jail.

       252.   The County/BOCC/CCSO have had abundant opportunity to increase

funding, supervision and training which would allow it to properly staff and address the

systemic deficiencies, including severe deficiencies in its medical delivery system, that have

plagued the Jail in recent years. Its failure to do so has resulted in injury to multiple

detainees, including Ms. Hanchett. Its failure to take reasonable measures to alleviate

known and substantial risks to inmates like Ms. Hanchett constitutes deliberate indifference

at the municipal level.

                                     CAUSES OF ACTION

            VIOLATION OF THE EIGHTH AND/OR FOURTEETH
        AMENDMENT TO THE CONSTITUTION OF THE UNITED STATES
                          (42 U.S.C. § 1983)

       253.   Paragraphs 1-252 are incorporated herein by reference.

       A.   Individual Liability and Underlying Violation of Constitutional
       Rights

       • Failure to Provide Adequate Medical Care

       254.   Ms. Hanchett had obvious, severe, and emergent medical and mental health

needs made known to CCSO/the County and Turn Key, including Defendants Doto,

Kariuki, and Myles-Henderson, prior to her death.




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       255.   Nonetheless, CCSO/the County and Turn Key, including Defendants Doto,

Kariuki, and Myles-Henderson, disregarded the known and obvious risks to Ms.

Hanchett’s health and safety.

       256.   As described supra, Ms. Hanchett had serious and emergent medical and

mental health issues that were known and obvious to the Turn Key/CCSO

employees/agents. It was obvious that Ms. Hanchett needed immediate and emergent

evaluation and treatment from a physician, but such services were denied, delayed, and

obstructed. Turn Key/CCSO employees/agents, including Defendants Doto, Kariuki,

and Myles-Henderson, disregarded the known, obvious, and substantial risks to Ms.

Hanchett’s health and safety.

       257.   In deliberate indifference to her serious medical needs, health, and safety,

Defendants failed to provide Ms. Hanchett with, inter alia, timely or adequate medical or

mental health treatment; proper monitoring and supervision; or reasonable access to

outside medical providers who were qualified and capable of evaluating and treating her

while she was placed under their care.

       258.   In deliberate indifference to her health and safety, Jail detention staff

repeatedly failed to conduct required 15-minute checks on Ms. Hanchett when they knew

Ms. Hanchett was suffering from obviously serious medical and mental health conditions.

       259.   As a direct proximate result of the unlawful conduct of Jail and Turn Key

staff, including Defendants Doto, Kariuki, and Myles-Henderson, Ms. Hanchett suffered

actual and severe physical injuries, physical pain and suffering, emotional and mental

distress, loss of familial relationships and death.


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           B. Municipal Liability (Against Turn Key)

       260.    Paragraphs 1-259 are incorporated herein by reference.

       261.    Turn Key is a “person” for purposes of 42 U.S.C. § 1983.

       262.    At all times pertinent hereto, Turn Key was acting under color of State law.

       263.    Turn Key has been endowed by Cleveland County with powers or functions

governmental in nature, such that Turn Key became an instrumentality of the State and

subject to its constitutional limitations.

       264.    Turn Key is charged with implementing and assisting in developing the

policies of CCSO with respect to the medical and mental health care of inmates at the

Cleveland County Jail and has shared responsibility to adequately train and supervise its

employees.

       265.    In addition, Turn Key implements, maintains and imposes its own corporate

policies, practices, protocols and customs at the Jail.

       266.    There is an affirmative causal link between the aforementioned acts and/or

omissions of Turn Key medical staff, as described above, in being deliberately indifferent

to Ms. Hanchett’s serious medical needs, health, and safety, and the above-described

customs, policies, and/or practices carried out by Turn Key.

       267.    To the extent that no single officer or professional violated Ms. Hanchett’s

constitutional rights, Turn Key is still liable under a theory of a systemic failure of policies

and procedures as described herein. There were such gross deficiencies in medical

procedures, staffing and facilities and procedures that Ms. Hanchett was effectively denied

constitutional conditions of confinement.


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       268.    Turn Key knew or should have known, either through actual or constructive

knowledge, or it was obvious, that these policies, practices and/or customs posed

substantial risks to the health and safety of inmates like Ms. Hanchett. Nevertheless, Turn

Key failed to take reasonable steps to alleviate those risks, in deliberate indifference to

inmates’, including Ms. Hanchett’s, serious medical needs.

       269.    Turn Key tacitly encouraged, ratified, and/or approved of the acts and/or

omissions alleged herein.

       270.    Additionally, Turn Key has maintained a healthcare delivery system at a

corporate level, including at the Cleveland County Jail, that has “such gross deficiencies in

staffing, facilities, equipment, or procedures that the inmate is effectively denied access to

adequate medical care.” Garcia v. Salt Lake County, 768 F.2d 303, 308 (10th Cir. 1985).

       271.    There is an affirmative causal link between the aforementioned customs,

policies, and/or practices and Plaintiff’s injuries and damages as alleged herein.

          C. Official Capacity Liability (Against Defendant Sheriff)

       272.    Paragraphs 1-271 are incorporated herein by reference.

       273.    The aforementioned acts and/or omissions of CCSO and/or Turn Key staff

in being deliberately indifferent to Ms. Hanchett’s health and safety and violating Ms.

Hanchett’s civil rights are causally connected with customs, practices, and policies which

the Sheriff/County/CCSO promulgated, created, implemented and/or possessed

responsibility for.

       274.    Such policies, customs and/or practices are specifically set forth in

paragraphs 90-252, supra.


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       275.    The Sheriff/County/CCSO, through its continued encouragement,

ratification, approval and/or maintenance of the aforementioned policies, customs, and/or

practices; in spite of their known and obvious inadequacies and dangers; has been

deliberately indifferent to inmates’, including Ms. Hanchett’s, health and safety.

       276.    The Sheriff/County/CCSO has maintained a healthcare delivery system at

the Jail that has such “gross deficiencies in staffing, facilities, equipment, or procedures that

the inmate is effectively denied access to adequate medical care.” Garcia v. Salt Lake County,

768 F.2d 303, 308 (10th Cir. 1985).

       277.    As a direct and proximate result of the aforementioned customs, policies,

and/or practices, Ms. Hanchett suffered injuries and damages as alleged herein.

       278.    As a direct and proximate result of Defendants’ conduct, Plaintiff is entitled

to pecuniary and compensatory damages.

                                          NEGLIGENCE
                                        (Against Turn Key)

       279.    Paragraphs 1-278 are incorporated herein by reference.

       280.    Turn Key is vicariously liable for the acts of its employees and/or agents

under the doctrine of respondeat superior.

       281.    Turn Key is not an “employee” of CCSO under the Oklahoma

Governmental Tort Claims Act (“GTCA”) and is not otherwise immune from liability

under Oklahoma law.

       282.    Turn Key, through its employees and/or agents at the Cleveland County

Jail, including Defendants Doto, Kariuki, and Myles-Henderson, owed a duty to Ms.



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Hanchett, and all other inmates incarcerated at the Cleveland County Jail, to tender

medical treatment with reasonable care, taking caution not to cause additional harm during

the course of medical and/or mental health care and treatment.

       283.   As described herein, Turn Key, through its employees and/or agents,

including Defendants Doto, Kariuki, and Myles-Henderson, breached its duty to Ms.

Hanchett, by failing to provide competent and timely medical and mental health care and

treatment as required by applicable standards of care, custom and law.

       284.   Turn Key staff, including Defendants Doto, Kariuki, and Myles-Henderson,

failed to provide adequate or timely evaluation and treatment, even as Ms. Hanchett’s

known medical and mental health conditions deteriorated. Agents and/or employees of

Turn Key failed to reasonably or timely treat Ms. Hanchett’s serious medical conditions,

and prevented her timely transfer to a medical facility for emergent care.

       285.   Turn Key’s negligence is the direct and proximate cause of Ms. Hanchett’s

physical pain, severe emotional distress, mental anguish, death, loss of familial

relationships, and the damages alleged herein.

       286.   As a result of Turn Key’s negligence, Plaintiff is entitled to damages.

                                PRAYER FOR RELIEF

       WHEREFORE, based on the foregoing, Plaintiff prays this Court grant him the

relief sought, including but not limited to actual and compensatory in excess of Seventy-

Five Thousand Dollars ($75,000.00), with interest accruing from the date of filing suit,

punitive damages for Defendants Doto’s, Myles-Henderson’s, and Kariuki’s reckless




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disregard of Ms. Hanchett’s federally protected rights, the costs of bringing this action, a

reasonable attorneys’ fee, along with such other relief as is deemed just and equitable.


                                          Respectfully submitted,

                                          /s/Daniel E. Smolen
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